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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )           (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                                ORDER

    Now before the court is defendant Harri Anne H.

Smith’s motion to have her trial jurors drawn district-

wide, rather than solely from the Northern Division.

This motion is substantially identical to a previously

denied motion Smith filed prior to the first trial in

this case.    For the same reasons identified in this court

previous   order,     United    States     v.   McGregor,     2011      WL

1344189 (M.D. Ala. 2011), it is ORDERED that defendant
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Harri Anne H. Smith’s motion to have her trial jurors

drawn district-wide (doc. no. 1802) is denied.

    DONE this the 3rd day of October, 2011.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
